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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                       :
UNITED STATES OF AMERICA                                               :
                                                                       :
                  -v-                                                  :      20-CR-229 (JMF)
                                                                       :
TREVOR MCKOY,                                                          :          ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
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JESSE M. FURMAN, United States District Judge:

        The proceeding in this matter scheduled for November 12, 2020, at 9:30 a.m. will be held in
Courtroom 24A of the Daniel Patrick Moynihan Courthouse, 500 Pearl Street, New York, NY
10007 (not the Court’s usual courtroom). Unless and until the Court orders otherwise, the proceeding
will be held in person.

        All members of the public, including attorneys, must complete a questionnaire and have their
temperature taken before being allowed entry into the Courthouse. Attached to this Order are
instructions and a link to the questionnaire. In light of these protocols, counsel and Defendant
should arrive at the Courthouse early to ensure that the proceeding can begin on time. Face coverings
(fully covering the mouth and nose) must be worn at all times while in the Courthouse. (Please note
that bandanas, neck gaiters, or masks with exhalation valves or vents are not permitted.) If someone
does not have a face covering, one will be provided upon entry by the Court Security Officers.

         In the interest of public health, and in order to comply with social distancing protocols, the
parties are strongly encouraged to limit the number of people in the courtroom as much as
possible. Indeed, seating at both counsel table and in the public area of the courtroom will be severely
limited. In view of those limitations and the restrictions on entry into the Courthouse, the Court will
provide listen-only public access to the proceeding by telephone given the public health situation.
Members of the public may listen to the proceeding by calling the Court’s dedicated conference call
line at (888) 363-4749, using access code 542-1540 followed by the pound (#) key.

        Finally, to minimize the need for physical contact among participants during the proceeding,
counsel are strongly encouraged to ensure that any documents requiring a signature are signed
in advance of the proceeding and to submit any and all relevant materials (documents, exhibits,
etc.) to the Court in advance of the proceeding (via ECF or email, as appropriate).

        SO ORDERED.

Dated: November 6, 2020                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
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All members of the public, including attorneys, appearing at a Southern District of New York
courthouse must complete a questionnaire and have their temperature taken before being allowed
entry into that courthouse.
On the day you are due to arrive at the courthouse, click on the following weblink, or scan the
following QR code with a mobile device camera to begin the enrollment process. Follow the
instructions and fill out the questionnaire. If your answers meet the requirements for entry, you will
be sent a QR code to be used at the SDNY entry device at the courthouse entrance.
                               https://app.certify.me/SDNYPublic




Note: If you do not have a mobile phone or mobile phone number, you must complete the
questionnaire and temperature screening at an entry device at the courthouse.




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